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                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      Ludwig Vantrikt                                                                               Case No.   17-12976
                                                                                   Debtor(s)              Chapter    13



                              AMENDED CHAPTER 13 PLAN AND CERTIFICATE OF SERVICE
1.    Payments to the Trustee: The future earnings or other future income of the Debtor is submitted to the supervision and control of
      the trustee. The Debtor (or the Debtor's employer) shall pay to the trustee the sum of $4,200.00 paid to date and then pay $358.00
      for 54 months for a total of $23,532.00

      Total of plan payments: $23,532.00

2.    Plan Length: This plan is estimated to be for 60 months.

3.    Allowed claims against the Debtor shall be paid in accordance with the provisions of the Bankruptcy Code and this Plan.

      a.    Secured creditors shall retain their mortgage, lien or security interest in collateral until the earlier of (a) the payment of the
            underlying debt determined under nonbankruptcy law, or (b) discharge under 11 U.S.C. § 1328.

      b.    Creditors who have co-signers, co-makers, or guarantors ("Co-Obligors") from whom they are enjoined from collection
            under 11 U.S.C. § 1301, and which are separately classified and shall file their claims, including all of the contractual interest
            which is due or will become due during the consummation of the Plan, and payment of the amount specified in the proof of
            claim to the creditor shall constitute full payment of the debt as to the Debtor and any Co-Obligor.

      c.    All priority creditors under 11 U.S.C. § 507 shall be paid in full in deferred cash payments.


4.    From the payments received under the plan, the trustee shall make disbursements as follows:

      a.    Administrative Expenses
            (1) Trustee's Fee: Amount to be determined by the Office of the U. S. Trustee.
            (2) Attorney's Fee (unpaid portion): $4,000.00 to be paid through plan in monthly payments
            (3) Filing Fee (unpaid portion): NONE

      b.    Priority Claims under 11 U.S.C. § 507

            (1) Domestic Support Obligations NONE

            (2) Other Priority Claims.

                          Name                                                                     Amount of Claim

                          Pennsylvania Department of Revenue                                            792.78

      c.    Secured Claims - SEE BELOW

                  (b) Secured Claims to be paid on arrears under the plan;

                                                                           Proposed Amount of
                Name                                                       Allowed Secured Claim        Monthly Payment   Interest Rate (If specified)
                City of Philadelphia                                          1,294.83 plus
                                                                             9% interest for
                                                                                   a total of
                                                                                  $1,669.83

                J.P. Morgan Chase Bank, N.A. - this is                           $14,652.34
                for the monies that J.P. Morgan Chase
                paid to the City for Pre-Petition Real
                Estate Taxes.


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      d.    Unsecured Claims Pro rata on timely filed allowed Unsecured Claims.

5.    The Debtor proposes to cure defaults to the following creditors by means of monthly payments by the trustee:

                        Creditor                                                                 Amount of Default to be Cured Interest Rate (If specified)
                        -NONE-

6.    The Debtor shall make regular payments directly to the following creditors:

                Name                                                         Amount of Claim
                J.P Morgan Chase Bank, N.A.                                    211,745.85
                Citizens Bank                                                    9,678.91

7.    The employer on whom the Court will be requested to order payment withheld from earnings is:
              Payments to be made directly by debtor or with a wage deduction.


8.    The following executory contracts of the debtor are rejected:

                Other Party                                                         Description of Contract or Lease
                -NONE-

9.    Property to Be Surrendered to Secured Creditor

                Name                                                         Amount of Claim         Description of Property
                -NONE-

10. The following liens shall be avoided pursuant to 11 U.S.C. § 522(f), or other applicable sections of the Bankruptcy Code:

                Name                                                         Amount of Claim         Description of Property
                -NONE-

11. Title to the Debtor's property shall revest in debtor on confirmation of a plan.

12. As used herein, the term "Debtor" shall include both debtors in a joint case.

13. Other Provisions:

 Date October 30, 2017                                                  Signature   /s/ Ludwig Vantrikt
                                                                                    Ludwig Vantrikt
                                                                                    Debtor

                                                              CERTIFICATE OF SERVICE

        The Chapter 13 Trustee, Pa. Dept. of Revenue, J. P. Morgan Chase and the City of Philadelphia are being served with
a copy of the Amended Plan.


                                                                               /s/David M. Offen
                                                                                  Suite 160 West, The Curtis Center
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